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                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 7
       STATE OF WASHINGTON,                           C17-5806RJB
 8
                               Plaintiff,
 9
                   v.
10
       THE GEO GROUP, INC., a Florida
11     corporation,

12                             Defendant.

13                                                    C17-5769RJB
       UGOCHUKWU GOODLUCK
14     NWAUZOR, individually and on
       behalf of all those similarly situated,        SUPPLEMENTAL PRETRIAL ORDER
15     and FERNANDO AGUIRRE-
       URBINA, individually,
16
                                       Plaintiffs,
17
                   v.
18
       THE GEO GROUP, INC., a Florida
19     corporation,

20                                 Defendant

21

22          This matter comes before the Court on the Supplemental Pretrial Conference held on

23   May 21, 2021. At said conference, the Court made the following additional Orders:

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     SUPPLEMENTAL PRETRIAL ORDER - 1
 1          1.      The noting date for the Motion in Case C17-5806RJB at Docket Number 456 was

 2   changed to May 28, 2021.

 3          2.      The parties should submit to the Court witness lists to be read to the jury during

 4   voir dire, listing local (Puget Sound to the Columbia River area) witnesses that it is possible jury

 5   panel members might know.

 6          3.      Trial time limits were discussed, and the Court ruled that Plaintiffs and Defendant

 7   would each have 40 hours to present their case on the following rules: Time clock will be

 8   running during presentation of evidence when lawyers are presenting or cross-examining

 9   witnesses and arguing motions and objections. The Plaintiffs will share their 40 hours in

10   whatever way they can agree upon, or, without agreement, 20 hours each. The clerk will keep

11   time. The time clock will not be running on voir dire, opening statements or closing arguments.

12          4.      The Court will introduce the cases to the entire panel of jurors, which will

13   hopefully be 50 in number. After the Court’s introduction to the case, the jury will be divided

14   into two “flights” of 16 and a third flight of whatever jurors are left. The Court will, for each

15   flight, conduct a voir dire and counsel will have the opportunity for 30 minutes of voir dire, with

16   the Plaintiffs to divide their 30 minutes as they chose, provided that if they do not agree, each

17   Plaintiff will be entitled to 15 minutes of voir dire per flight. At the conclusion of each flight,

18   the Court will hear challenges for cause. After all flights has been subjected to voir dire, counsel

19   will take their peremptory challenges orally but out of the presence of the jury panel. The Court

20   will stop voir dire when 15 jurors are qualified. The Plaintiffs together will have three

21   peremptory challenges and the Defendant will have three, and the Court will seat a jury of nine.

22          5.      Witnesses should not be in the same room with counsel while testifying.

23          6.      All depositions taken in the case are hereby declared open and published and

24   available for use at trial under the Rules of Evidence.


     SUPPLEMENTAL PRETRIAL ORDER - 2
 1          7.      Juror information sheets should be available to counsel by email on the morning

 2   of June 1, 2021.

 3          8.      There will be a 350 participant limit on Zoom. The public will be allowed to hear

 4   the proceedings by telephone or view the proceedings by Zoom with appropriate access numbers,

 5   either from the Court’s public website (for telephone audio) or from the clerk (for Zoom video,

 6   which requires a passcode).

 7          9.      Defendant raised additional questions in Case C17-5769RJB at Docket Number

 8   349, beginning at page 12:

 9                  A.     The Use of Financial Documents in Phase I of Trial. This was in the

10   nature of a motion in limine that the Court denies. The admissibility of evidence will be

11   determined under the Rules of Evidence at trial.

12                  B.     Remote Oath Concerns. The Court was advised that no witnesses in

13   foreign countries would be called.

14          10.     Other matters raised were previously resolved.

15          IT IS SO ORDERED.

16          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

17   to any party appearing pro se at said party’s last known address.

18          Dated this 21st day of May, 2021.

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20                                         A
                                           ROBERT J. BRYAN
21
                                           United States District Judge
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     SUPPLEMENTAL PRETRIAL ORDER - 3
